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   EXHIBIT F
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA




          RYAN QUARLES,

                         Plaintiff,

          vs.                             Civil Action No. 21-cv-02813

          COMMISSIONER OUTLAW, et al.

                    Defendants.
          ____________________________________________________




                               REMOTE DEPOSITION BY VIDEOCONFERENCE

                                                OFFICER MATTHEW PONENTE


                                                                  TAKEN ON
                                                           JANUARY 4, 2022
                                                                10:06 A.M.


                                                    477 KRAMS AVENUE
                                    PHILADELPHIA, PENNSYLVANIA 19128
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 1           APPEARANCES BY VIDEOCONFERENCE        1                EXHIBITS INDEX
 2                                                 2 Exhibit                     Page
 3 Appearing on behalf of the Plaintiff:           3
 4 AARON BELL, ESQUIRE                             4               (NONE MARKED)
 5 Bell Law Offices                                5
 6 7303 Frankford Avenue                           6
 7 Philadelphia, PA 19136                          7
 8 (215)609-4888                                   8
 9 (833)683-1636 (Fax)                             9
10 aaronbelllawfirm@gmail.com                     10
11                                                11
12 Appearing on behalf of the Defendant:          12
13 SHANNON ZABEL, ESQUIRE                         13
14 City of Philadelphia Law Department            14
15 1515 Arch Street, 14th Floor                   15
16 Philadelphia, PA 19102                         16
17 (215)683-5433                                  17
18 Shannon.Zabel@phila.gov                        18
19                                                19
20 Also Present:                                  20
21 Mark Nilson, Videoconference Technician        21
22                                                22
23                                                23
24                                                24
25                                                25


                                              3                                                                 5

 1           EXAMINATION INDEX                     1       REMOTE DEPOSITION BY VIDEOCONFERENCE
 2                         Page                    2          OFFICER MATTHEW PONENTE
 3                                                 3               TAKEN ON
 4 EXAMINATION BY MR. BELL            6            4             JANUARY 4, 2022
 5                                                 5               10:06 A.M.
 6 EXAMINATION BY MS. ZABEL           37           6
 7                                                 7        THE REPORTER: Officer Ponente, can I
 8                                                 8 please have you raise your right hand and let me
 9                                                 9 know when you've done so.
10                                                10        THE DEPONENT: Yes, I've done so.
11                                                11        THE REPORTER: Do you solemnly swear or
12                                                12 affirm under the penalty of perjury that the
13                                                13 testimony you are about to give will be the truth,
14                                                14 the whole truth, and nothing but the truth?
15                                                15        THE DEPONENT: I do.
16                                                16        THE REPORTER: Perfect. Thank you.
17                                                17        And, Counsel, for the record, please state
18                                                18 your names and whom you represent.
19                                                19        MR. BELL: Aaron Bell. I represent Ryan
20                                                20 Quarles.
21                                                21        MS. ZABEL: And Shannon Zabel on behalf of
22                                                22 Defendants Commissioner Outlaw, Officer Ponente, and
23                                                23 Officer Razman.
24                                                24        THE REPORTER: Thank you, Counsel. You
25                                                25 may proceed.
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 1 MATTHEW PONENTE, having been duly sworn, was               1 Intelligence Center, which is a fusion center,
 2 examined, and testified as follows:                        2 correct?
 3 EXAMINATION                                                3    A. Correct.
 4 BY MR. BELL:                                               4    Q. And a CDI, that would be generally a local
 5     Q. All right. Good morning, Officer Ponente.           5 police department's criminal intelligence division?
 6     A. Good morning.                                       6    A. Correct.
 7     Q. Hey, Officer, can you activate your video?          7    Q. All right. Okay. So when we talk about
 8     A. Yes.                                                8 these information centers, all right, so because
 9     Q. Thank you. If you don't understand any of           9 there's just something -- like in Georgia they have
10 my questions, let me know and I'll rephrase it. I'm       10 a general fusion center. You know that, right?
11 going to get right to the point so I'm not going to       11    A. I, I -- could you say that one more time?
12 waste your time with a bunch of ridiculous                12 I'm sorry?
13 questions.                                                13    Q. All right. You know, I'll ask you a
14        What is your highest level of education?           14 better question.
15     A. High school.                                       15         Let's talk about 911 dispatch. What are
16     Q. Okay. How long have you been a police              16 the responsibilities of the 911 dispatch officers to
17 officer?                                                  17 the best of your knowledge?
18     A. Five years.                                        18    A. What are their responsibilities?
19     Q. Okay. Can you explain the -- the process           19    Q. Yeah, yeah. I mean, I know you're not a
20 of verifying a gun license in Pennsylvania?               20 911, just to be clear, I know you're not, you're not
21     A. The process of verifying a gun license in          21 a 911 dispatch officer, but would you tell me what
22 Pennsylvania? Normally, it's through the NCIC/PCIC        22 you know about their responsibilities?
23 system.                                                   23    A. About a 911 dispatcher being -- as far as
24     Q. Okay. All right. Can you explain how               24 I'm concerned, they dispatch 911 calls that they
25 were you trained to verify a gun license from the         25 received from intake.


                                                         7                                                                 9

 1 State of Georgia?                                          1     Q. All right. So basically the 911 hotline,
 2     A. Through the same way you would a                    2 that's for the members of the public to report
 3 Pennsylvania license, through the NCIC/PCIC system.        3 emergencies pretty much?
 4     Q. Okay. So according to your training that            4     A. Correct.
 5 the Philadelphia Police Department provided you            5     Q. As a sworn police officer, you're sworn
 6 concerning Georgia permits, you verify it the same         6 and you're certified to be a peace officer in the
 7 way you would verify a Pennsylvania license?               7 State of Pennsylvania, right?
 8     A. Correct.                                            8     A. Correct.
 9     Q. All right. And just to be a little                  9     Q. Would you agree that you have more
10 clearer because I could have asked a better               10 training and I guess general law enforcement
11 question, is there a specific policy that the             11 qualifications than a 911 operator would?
12 Philadelphia Police Department has concerning             12     A. Correct.
13 Georgia permits that you're aware of?                     13     Q. To the best of your knowledge? I'm sorry.
14     A. Not that I'm aware of.                             14     A. Yes.
15     Q. All right. You briefly mentioned the               15     Q. All right. If you had to rank as far as,
16 information centers, the PCIC and the NCIC. Those         16 like, sources of information, what would be your
17 are like fusion centers, correct?                         17 best source of information if you're investigating a
18     A. Correct.                                           18 -- a subject? Would it be a fusion center or would
19     Q. In a way. All right. Can you explain               19 it be a 911 dispatch officer?
20 what a fusion center is?                                  20        MS. ZABEL: I'll object to the form but,
21     A. Fusion centers are -- they're able to run          21 Officer, you can answer.
22 further information, more than I am on just my            22        THE DEPONENT: A fusion center will tell
23 computer.                                                 23 me more about the individual.
24     Q. Okay. All right. So all right. So the              24 BY MR. BELL:
25 PCIC, that refers to the Pennsylvania's Criminal          25     Q. All right. In Pennsylvania, would you
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 1 attempt to verify a gun license by calling the 911           1 Officer, you can answer.
 2 hotline?                                                     2         THE DEPONENT: I mean, I'm not trained on
 3      A. No, I would call the fusion center.                  3 exactly Georgia permits per se, but to the naked eye
 4      Q. All right. Why did you think Mr. Quarles'            4 it looked legitimate.
 5 firearm license was faked?                                   5 BY MR. BELL:
 6      A. I didn't -- I never said it was fake. I              6      Q. Okay. When police arrest someone for a
 7 was calling to verify the validity of it.                    7 serious crime, you take that person into police
 8      Q. All right. Did you have opportunity to               8 custody to be processed, correct?
 9 review your body cam?                                        9      A. Correct.
10      A. I did not.                                          10      Q. Now, prior to arresting someone you need
11      Q. All right. Would you dispute if, if I               11 to have a reason to believe that that person
12 said your body cam shows that you said you think            12 committed a crime?
13 it's fake, the license is fake, would you dispute           13      A. Correct.
14 that?                                                       14      Q. And that would -- basically, that reason
15      A. Like I said, I haven't been able to review          15 would essentially be probable cause, right?
16 it so to the best of my knowledge I don't, I don't          16         MS. ZABEL: Objection, calls for a legal
17 recall saying that the license was fake.                    17 conclusion.
18      Q. Okay. Prior to encountering Mr. Quarles,            18         Officer, you can answer to the best of
19 have you ever encountered a Georgia license to              19 your ability.
20 carry?                                                      20         THE DEPONENT: I guess, yeah, that's
21      A. Yes.                                                21 correct.
22      Q. Okay. And in that case you were able to             22 BY MR. BELL:
23 verify it that it was either valid or invalid?              23      Q. Yeah, Officer, this is not a trick
24      A. Correct.                                            24 question. You, as a trained officer, you know what
25      Q. Do you remember the case name? Do you --            25 probable cause is, correct?


                                                          11                                                                13

 1     A. No, I do not.                                         1     A. Right.
 2     Q. When did this happen?                                 2     Q. Yeah, that's all I was asking. So you
 3     A. When did what happen?                                 3 can't just arrest someone unless you have probable
 4     Q. When did you encounter a Georgia gun                  4 cause to believe a crime happened. That's all I'm
 5 license prior to Mr. Quarles' case?                          5 asking. You agree with that?
 6     A. Several years ago.                                    6     A. Okay. Correct.
 7     Q. Okay. And just to be clear, you verified              7     Q. All right. I have a couple of questions
 8 whether this license was valid according to the same         8 about the Georgia Fusion Center.
 9 procedure you used in this case?                             9        Do you recall talking to the Georgia DBI
10     A. Yes, through the fusion centers.                     10 officer, right?
11     Q. Okay. And when you say "several years",              11     A. Well, I recall talking to several
12 can you -- can you pinpoint a year?                         12 different people --
13     A. Either --                                            13     Q. Yes.
14     Q. What year specifically?                              14     A. -- during the investigation, yes.
15     A. -- either 2017 or 2018.                              15     Q. Okay. When you -- when you were finally
16     Q. Okay. Okay. Did you think anything was               16 able to get to -- to reach the Georgia Fusion
17 unusual about Mr. Quarles' gun license when you             17 Center, you talked to a male from the DBI?
18 looked at it?                                               18     A. Correct.
19        MS. ZABEL: I'll object to the form but,              19     Q. Right, and this is the person who
20 Officer, you can answer.                                    20 connected you to Gwinnett County Dispatch?
21        THE DEPONENT: No.                                    21     A. Right.
22 BY MR. BELL:                                                22     Q. All right. So this DBI officer, he
23     Q. So it looked perfectly legit when you                23 informed you that he doesn't have -- there's no
24 looked at it?                                               24 database with which to check a firearm license,
25        MS. ZABEL: Objection to the form.                    25 right?
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 1     A. Right, from what I recall.                            1     A. Okay.
 2     Q. All right. Do you also recall him saying              2     Q. Okay? That means yes?
 3 that the courthouse -- you had to contact the                3     A. Yes.
 4 courthouse?                                                  4     Q. All right. Do you recall the Gwinnett
 5     A. I don't recall.                                       5 County operator -- or you asking the Gwinnett County
 6     Q. All right. Now, if that's on your body                6 911 operator if -- if -- if Georgia Police ran
 7 cam you wouldn't object -- you wouldn't disagree             7 someone through their PCI/NCIC system for a permit
 8 with that if it's depicted on your body cam that the         8 carry status, nothing would come back? Do you
 9 officer --                                                   9 recall that?
10     A. Yeah, if it's on my body camera then,                10     A. Yeah, I recall that.
11 yeah, I wouldn't -- I wouldn't dispute that.                11     Q. All right. At any point did you mislead
12     Q. All right. All right. Now, when you                  12 your fellow officers at the scene of the arrest in
13 contacted the 911 operator in Gwinnett County -- you        13 this case?
14 remember that, right, your discussion with her?             14     A. Can you ask that again?
15     A. I remember contacting Gwinnett County's              15     Q. At any point did you mislead your
16 dispatch, yes.                                              16 colleagues about what Georgia officials told you
17     Q. Okay. And the dispatch officer you spoke             17 about how to verify a gun license?
18 to, to be clear, it was a 911 dispatch officer,             18        MS. ZABEL: Objection to the form.
19 right?                                                      19        Officer, you can answer.
20     A. From what I recall. Again, I, I have not             20        THE DEPONENT: Mislead in what way?
21 been able to review my body camera.                         21 BY MR. BELL:
22     Q. All right, all right. You didn't talk to             22     Q. Okay. Now, did you tell either Officer
23 Gwinnett County CDI, right?                                 23 Razman, the sergeant who was at the scene, or anyone
24     A. I do not recall.                                     24 else who was at the scene that the GBI Fusion
25     Q. Okay. Do you recall the Gwinnett County              25 officer told you that law enforcement don't have


                                                          15                                                                17

 1 dispatch officer telling you at least on three               1 access to gun permit records?
 2 occasions that she doesn't have access to gun permit         2     A. Again, I don't recall.
 3 records?                                                     3     Q. Okay. Okay, Officer. Do you recall your
 4      A. Again, I don't recall.                               4 discussion with Detective Rose?
 5      Q. Okay. Would you like to take a moment to             5     A. Yes.
 6 review your body cam and we could come back?                 6     Q. Okay. Did you tell Detective Rose that
 7      A. I've attempted to review it and I was                7 the Georgia Fusion officer told you law enforcement
 8 unable to on my cell phone. I attempted to review            8 don't have access to gun permit records in Georgia?
 9 it last night.                                               9     A. No, I don't remember that information.
10      Q. Okay. And are you deliberately, and this            10     Q. What specifically do you remember telling
11 is not a personal attack, are you deliberately not          11 Detective Rose?
12 having a recollection or you just simply don't              12     A. I remember telling Detective Rose that the
13 recall?                                                     13 -- that your client did not have a valid permit out
14         MS. ZABEL: Objection.                               14 of Georgia. Detective Rose was able to tell me that
15         Officer, you can answer, go ahead.                  15 he was able to look into any prior arrests in
16         THE DEPONENT: This happened over a year             16 Georgia and saw, like, a prior arrest for robbery.
17 ago. I don't recall every individual person I spoke         17     Q. And he told you that knowing your
18 to, what their position was, and what was said by           18 discussion now was recorded on the body cam?
19 them.                                                       19     A. That was not recorded on body camera.
20 BY MR. BELL:                                                20     Q. Okay. So you told -- your body cam, it
21      Q. Okay. But -- all right. And you're not              21 shows you, you would agree that it shows you telling
22 disputing your body cam. If your body cam shows             22 Detective Rose that Georgia denied that Mr. Quarles
23 that this operator told you that we don't have gun          23 had a valid permit?
24 permit records multiple times, you wouldn't, you            24     A. You're asking if my body camera shows
25 wouldn't contest that, right?                               25 that?
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 1     Q. Yes.                                                  1     A. No.
 2     A. No, I don't recall. If anything, from                 2     Q. All right. So he was compliant?
 3 what I can recall, my body camera would have been            3     A. No.
 4 off when I spoke to Detective Rose.                          4         MS. ZABEL: Objection to the form. Go
 5     Q. Oh. So you're not aware that it was                   5 ahead.
 6 actually recorded?                                           6         THE DEPONENT: No, he was not compliant.
 7     A. No, I'm not.                                          7 I don't -- I don't -- I don't understand where
 8     Q. Okay. Can you turn your sound off on your             8 fleeing and alluding is considered compliant.
 9 body cam and turn it on when you want to?                    9 BY MR. BELL:
10     A. Can I turn the sound off? I mean --                  10     Q. Okay. So he did not comply with you.
11     Q. Yeah, off and on.                                    11 When you pulled him over, he was -- he, he fought
12     A. If nothing's recording at that point.                12 you, right? That's what you're saying?
13     Q. All right, but -- okay. Now, look, sorry             13         MS. ZABEL: Object to the form.
14 about that. Hold on one second. All right. So if            14         Officer, you can answer.
15 something is recorded, right, let's assume your body        15         THE DEPONENT: What time when I pulled him
16 -- you activate your body cam, do you have the              16 over? When I initially got behind him or when he
17 ability to switch the volume on and off or the audio        17 got caught in a dead end and stopped?
18 on and off?                                                 18 BY MR. BELL:
19     A. No.                                                  19     Q. When he got trapped like a rat, I guess,
20     Q. Okay. Did you -- you know giving false               20 in this dead end and couldn't get away from you.
21 information to a law enforcement officer is a crime,        21         MS. ZABEL: Objection to the form.
22 right?                                                      22         Officer, go ahead.
23     A. Yes.                                                 23         THE DEPONENT: No, he was taken into
24     Q. You know fleeing and alluding police                 24 custody with no incident.
25 officers is -- in a high speed chase, that, that's a        25 BY MR. BELL:


                                                          19                                                               21

 1 crime, right?                                                1     Q. Okay. So "no incident" meaning he didn't
 2     A. Correct.                                              2 attempt to fight you; he complied, he surrendered,
 3     Q. You didn't arrest Mr. Quarles for                     3 right?
 4 furnishing a false ID, right?                                4     A. Yes.
 5     A. I don't, I don't apply any charges.                   5     Q. All right. So disregarding a stop sign,
 6     Q. Okay. But you didn't take him into                    6 that's not a violent offense?
 7 custody for giving you a false ID, right?                    7     A. Correct.
 8     A. No.                                                   8     Q. At the time that you took Mr. Quarles out
 9     Q. You didn't take him into custody for                  9 of his car, what evidence did you have to believe
10 fleeing and alluding officers?                              10 that he was armed and dangerous, if anything?
11     A. I'm -- I'm not sure if that charge was               11     A. Treat every individual as if they're armed
12 added on or not.                                            12 and dangerous 'til proven -- proven otherwise.
13     Q. Yeah, well, I'm not asking about the                 13     Q. Oh, so you just assume that individuals
14 charging process. I mean, like, would you take him          14 are armed and dangerous?
15 -- when you decided to take him into custody it             15     A. Again, I'm going off of him fleeing and
16 wasn't for fleeing and alluding officers?                   16 alluding, so --
17     A. That's correct.                                      17     Q. Can you explain -- can -- can you describe
18     Q. All right. Why did you stop Mr. Quarles?             18 his fleeing and alluding?
19     A. Disregarding a stop sign.                            19     A. When I got behind your client, he
20     Q. Okay. Now, when you stopped Mr. Quarles              20 proceeded to flee at a high rate of speed. He went
21 for disregarding a stop sign, at any point did he           21 into oncoming traffic on the wrong, wrong side of
22 draw his pistol at you?                                     22 the road. He sideswiped a car on the wrong side of
23     A. Not to my knowledge.                                 23 the road. He disregarded all and any stop signs,
24     Q. All right. He didn't attack you in any               24 red lights, anything at all that was in the road to
25 way, right?                                                 25 -- in an attempt to evade police.
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 1     Q. Did you take pictures of this car that he             1 BY MR. BELL:
 2 sideswiped?                                                  2     Q. All right. Drawing your firearm is
 3     A. No.                                                   3 considered a use of force, according to the
 4     Q. Were you able to locate this vehicle?                 4 Philadelphia Police Department policy directives.
 5     A. No.                                                   5        MS. ZABEL: Pardon me. Mr. Bell, are you
 6     Q. What color was the car that he sideswiped             6 talking about current directives or directives that
 7 in his dangerous encounter?                                  7 were in place at the time of this arrest in February
 8     A. I don't recall.                                       8 2020?
 9     Q. Was it a car? Was it a minivan? Was it a              9        MR. BELL: All right. What are the --
10 Bentley? What was it?                                       10 when have the directives been updated, Ms. Zabel, to
11     A. I don't recall.                                      11 your knowledge? Because the one I have I think it's
12     Q. When he sideswiped this car, did you                 12 10-point something and it said it was -- came out in
13 notice any damage on his vehicle?                           13 2000-either '18. I don't have it right in front of
14     A. I believe there was some damage, yes.                14 me, but --
15     Q. What side?                                           15        THE DEPONENT: No, those, those were
16     A. On the passenger side.                               16 changed in -- those were changed around the summer
17     Q. Passenger side. And did the -- did his               17 time, fall of 2020; after the George Floyd riots
18 car contact this vehicle, this unknown vehicle, I           18 those were implemented.
19 guess towards the front or the back? So, basically,         19 BY MR. BELL:
20 what -- did his mirror get knocked off in any way?          20     Q. Okay. So what does your directive say
21     A. Did the mirror get knocked off? I don't              21 about the
22 recall --                                                   22 use of force now concerning drawing a pistol?
23     Q. Yeah, Mr. Quarles'.                                  23     A. Now, now it warrants a use of force to be
24     A. I don't recall.                                      24 completed.
25     Q. How hard was the impact?                             25     Q. Okay. And that's a use of force memo?


                                                          23                                                                25

 1     A. I mean, he -- he tried to wedge between a             1     A. Correct. At the time of this arrest, that
 2 car that was in the lane at the red light and then a         2 was not in the directives.
 3 car that was parked, and he sideswiped a car that            3     Q. Okay. So if I have directives, if I have
 4 was parked.                                                  4 directives prior to -- immediately, the ones
 5     Q. Hmm. So it was in tight quarters                      5 immediately prior to the ones that were in force now
 6 basically?                                                   6 -- strike that.
 7     A. Yes.                                                  7         Ignore that.
 8     Q. All right. And his mirror didn't get                  8         To be clear, you --
 9 knocked off at all?                                          9         MS. ZABEL: Sorry, Mr. Bell, just for --
10     A. I don't recall if the mirror was knocked             10 just for clarification, so I think you're talking
11 off.                                                        11 about Directive 10.2. The effective date of it is
12     Q. Would you be surprised if there's no                 12 2015; there's an updated date of, like, December
13 damage to the paint on his vehicle?                         13 2021, and that includes that use of force, that a
14     A. I would be surprised, yes.                           14 firearm being pointed is now considered a use of
15     Q. Do you recall pointing out this damage to            15 force and a form should be filled out. I can send
16 his vehicle to your -- your colleagues at the scene         16 you a copy of that if you want.
17 of -- of the arrest in this case?                           17         MR. BELL: Yes, please.
18     A. I don't recall.                                      18         MS. ZABEL: Okay.
19     Q. This dangerous, I guess, your initial                19 BY MR. BELL:
20 encounter with him -- it was, it was very dangerous         20     Q. Why did you think drawing your firearm was
21 if he's running from you and sideswiping vehicles;          21 necessary in this case, Officer Ponente?
22 you agree?                                                  22     A. I had just stopped someone who fled from
23         MS. ZABEL: Object to the form.                      23 me, so I didn't know what I was encountering.
24         Go ahead and answer if you can, Officer.            24     Q. Okay. When you -- when you ran Mr.
25         THE DEPONENT: Yes.                                  25 Quarles' firearm to see if it came back registered,
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 1 what happened?                                               1     A. I guess. Again, I don't recall exactly
 2     A. I don't recall.                                       2 who sent it. It could've been the radio room, it
 3     Q. Were you suspicious -- all right. Would               3 could've been the front desk. I don't recall.
 4 you -- would you disagree with your -- if I said             4     Q. Front desk refers to what?
 5 your body cam showed that you -- you thought Mr.             5     A. Well, I guess the radio room front desk
 6 Quarles, I guess, was suspicious because when you            6 and there's different -- you have dispatch, you have
 7 ran his firearm it didn't come back to a registered          7 radio room, you have front desk. It's -- I don't
 8 owner. Would you agree with that?                            8 know who sent the teletype.
 9     A. That -- that could happen, yes.                       9     Q. You said you -- on your bodycam, so you're
10     Q. Okay. Are you aware that Pennsylvania                10 talking to a supervisor from the front desk.
11 prohibits a registration, a law enforcement registry        11     A. Okay.
12 of firearms ownership?                                      12     Q. All right?
13     A. There are still -- through the fusion                13     A. Okay.
14 centers you're still able to see who the registered         14     Q. So at the time who did you believe the
15 owner of the firearm is.                                    15 front desk was?
16     Q. Yes. All right, all right. But you                   16     A. Well, if my body cam says that I'm talking
17 understand that under State law he don't have to            17 -- that I was talking to a supervisor from the front
18 register his firearm with anyone?                           18 desk then I would assume that's who sent the
19     A. Right. I understand but I'm still able to            19 teletype.
20 check who the owner is because if I do recall               20     Q. Okay. Which front desk?
21 correctly he stated at one point, again, I would            21     A. My front desk.
22 have to review my body camera, he may have stated at        22     Q. The one -- it wasn't your radio room,
23 one point that it's, it was his friend's firearm.           23 you'd agree with that because you called your radio
24     Q. All right. And you know it's -- it's                 24 room. Your radio room said they couldn't do that;
25 totally legal to have your friend's firearm if you          25 you've got to go through the front desk.


                                                          27                                                                29

 1 have a license to carry on the public --                     1    A. Okay. Then I went to the front desk.
 2     A. Right.                                                2    Q. All right. And the front desk would be
 3     Q. -- street?                                            3 what?
 4     A. That's correct.                                       4    A. The front desk would be a supervisor from
 5     Q. So why did that cause you to be                       5 radio or from communications, if you would.
 6 suspicious?                                                  6    Q. All right. And where is communications
 7     A. I run every single firearm that I get.                7 located?
 8     Q. All right. So if -- if every single                   8    A. I don't know.
 9 firearm or if a particular fire arm doesn't come             9    Q. Were you disciplined in any way for your
10 back, that would arise suspicion in you?                    10 conduct in this case?
11     A. No.                                                  11    A. No.
12     Q. So why were you suspicious in this case?             12    Q. Were you admonished or were you warned by
13     A. Again, because your client fled from                 13 any supervisors at any time?
14 police.                                                     14    A. No.
15     Q. When you talked to the sergeant at the               15    Q. Did anyone ever tell you -- did anyone
16 scene, you didn't tell him that -- according to your        16 ever give you advice on how to deal with a Georgia
17 body cam, you didn't tell him that he fled from the         17 permit?
18 police and that's why you were suspicious.                  18    A. No.
19     A. Okay. I don't recall.                                19    Q. After this incident?
20     Q. All right. So if the body cam shows that,            20    A. No.
21 you -- you're not contesting it?                            21    Q. Are you currently -- you're currently
22     A. Correct.                                             22 aware that Mr. Quarles' gun license was valid the
23     Q. When you -- when you had the teletype sent           23 whole time?
24 to Georgia, you had front desk, the Philadelphia            24       MS. ZABEL: Objection to the form; valid
25 Police Department front desk send a teletype?               25 when? When he was arrested in February?
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                                                          30                                                               32

 1        MR. BELL: Yes, yeah. To be clear, yes.                1     Q. If a person doesn't have a license to
 2 Sorry about that.                                            2 carry, they go to jail?
 3 BY MR. BELL:                                                 3     A. Correct.
 4     Q. Are you, Officer Ponente, are you aware               4     Q. If you can't verify that a person's
 5 now that Mr. Quarles' gun license was valid at the           5 license to carry is in fact legitimate, that person
 6 time that you encountered him?                               6 goes to jail?
 7     A. Yes.                                                  7     A. Correct.
 8     Q. Not, not that you were aware then; I'm                8     Q. In a given week, how many times would you
 9 talking about now.                                           9 say you had to verify whether someone has a valid
10     A. Right.                                               10 license to carry?
11     Q. All right. So -- and it's not a trick                11     A. It could be a couple of times, could be
12 question. So are you aware -- are you aware now             12 none at all.
13 that Georgia's laws require an officer to call the          13     Q. Okay. In a given year how many? I know
14 judge or call the courthouse to verify a gun                14 you probably don't -- I'm not expecting you to know
15 license?                                                    15 the exact number, but how often is it?
16     A. I'm not aware of Georgia laws.                       16     A. In a year it could be dozens of times.
17     Q. All right, all right. Is it fair to say              17     Q. Every time you make a gun arrest, right?
18 that at the time you encountered Mr. Quarles you, to        18     A. Yes.
19 the best of your training and knowledge, you                19     Q. And you made how many gun arrests on
20 attempted to verify whether this -- his license to          20 average you think you make in a year?
21 carry was valid or not?                                     21     A. Twenty to --
22     A. Correct.                                             22        MS. ZABEL: Objection, asked and answered.
23     Q. So you weren't trying to just railroad               23        Go ahead. Sorry, didn't mean to cut you
24 this man into jail?                                         24 off.
25        MS. ZABEL: Objection to the form.                    25        THE DEPONENT: -- 30. Okay. Twenty to


                                                          31                                                               33

 1        You can answer, Officer.                              1 30.
 2        THE DEPONENT: That's correct.                         2 BY MR. BELL:
 3 BY MR. BELL:                                                 3     Q. The manner in which you attempted to
 4     Q. One moment, Officer. You aren't able to               4 verify Mr. Quarles' gun license is consistent with
 5 verify Georgia's gun -- Quarles' Georgia gun permit,         5 the generally accepted practices and training
 6 according to Georgia specific procedure because              6 provided by the Philadelphia Police Department?
 7 nobody taught you how to do that. Would you agree            7     A. Yes.
 8 with that?                                                   8     Q. So the way you attempted to verify Mr.
 9     A. That's correct.                                       9 Quarles' gun license would've been just the way you
10     Q. Now, if you were aware you would have                10 were taught to verify the gun license?
11 followed the procedure; that's why you were on the          11     A. Through the --
12 phone making calls and trying to verify it, right?          12        MS. ZABEL: Objection, asked and answered.
13        MS. ZABEL: Objection to the form.                    13        Go ahead, Officer.
14        You can answer, Officer.                             14        THE DEPONENT: Through the Fusion Center,
15        THE DEPONENT: Yeah, sure.                            15 through the Pennsylvania Fusion Center.
16 BY MR. BELL:                                                16 BY MR. BELL:
17     Q. How often -- or you know what? Is                    17     Q. All right. In your experience and
18 verifying firearm licenses a important part of your         18 training as a law enforcement officer, law
19 job?                                                        19 enforcement officials typically have access to gun
20     A. Yes.                                                 20 permit records.
21     Q. Every time you encounter someone on a                21        MS. ZABEL: Is that a question?
22 public street who you lawfully stop and they have a         22        MR. BELL: Yeah, that's a question.
23 firearm, you -- you are required to determine               23        THE DEPONENT: Well, can -- can you repeat
24 whether that person has a license to carry?                 24 the question?
25     A. Yes.                                                 25 BY MR. BELL:
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 1     Q. Yeah, certainly. Law enforcement -- in                1 BY MR. BELL:
 2 your understanding as a law enforcement officer, you         2    Q. So the answer was no?
 3 -- you understand law enforcement officers typically         3    A. Correct.
 4 have access to gun permit records, right? I know it          4    Q. Is there anything about Mr. Quarles' race
 5 sounds crazy but it's really simple. It's not a              5 that caused you to believe his license was invalid?
 6 trick question.                                              6 You --
 7     A. To what -- I mean, to what extent? Do I -             7    A. No.
 8 - I don't --                                                 8    Q. Basically, did you believe his license was
 9     Q. Okay. All right. Well, basically, law                 9 not valid because he is black?
10 enforcement would have -- you understand law                10        A: No, that is not correct.
11 enforcement to typically have gun permit records for        11    Q. All right. So you don't have any racial
12 the purpose of being able to verify whether somebody        12 animus towards Mr. -- towards black people, right?
13 has a gun permit, right?                                    13    A. No, I do not.
14     A. Okay.                                                14    Q. All right. You're not a member of the
15     Q. I'm not saying that the -- to be clear,              15 Proud Boys and never were, were you?
16 the question isn't saying -- isn't asking whether           16    A. No, I'm not and I never was.
17 police officers, every officer has someone's gun            17    Q. So if Mr. Quarles was white would you
18 permit records in his cell phone or something like          18 treat him with the same courtesy as you did in this
19 that.                                                       19 case?
20        What I'm saying is, it's your                        20    A. Yes.
21 understanding that a fusion center would typically          21    Q. Okay. All right. When is somebody --
22 be able to verify a gun license, correct?                   22 when would a reasonable person believe that they're
23     A. A fusion center would, yes, correct.                 23 arrested?
24     Q. Yes. So would it be unusual in your                  24        MS. ZABEL: Objection. How can he know
25 opinion -- in your opinion, would it be unusual for         25 what a reasonable person would think?


                                                          35                                                                 37

 1 police not to be, not to be -- not to have that              1         MR. BELL: He can answer to the best of
 2 information, a fusion center not to have that                2 his abilities.
 3 information concerning a gun permit?                         3 BY MR. BELL:
 4        MS. ZABEL: Objection. Do you mean the                 4     Q. To the best of your abilities, Officer,
 5 Pennsylvania Fusion Center or any fusion center?             5 can a --
 6        MR. BELL: Fusion centers generally. The               6     A. I've never -- I've never been arrested so
 7 law enforcement fusion center generally to his               7 I don't know when -- when somebody would say --
 8 understanding.                                               8     Q. So you wouldn't have an idea of when a
 9        THE DEPONENT: Well, there's not just one              9 reasonable person would believe that they're
10 law enforcement fusion center --                            10 arrested?
11 BY MR. BELL:                                                11     A. No, I wouldn't have an idea. Maybe as
12     Q. Yeah, I know. I know, I know.                        12 soon as the handcuffs go on, maybe as soon as they -
13        THE REPORTER: Counsel, I just want to                13 - I drive off with them in my car. I don't, I don't
14 remind everybody I need everybody to speak one at a         14 know.
15 time. I'm taking everybody's voices down, so thank          15         MR. BELL: All right. That's all I have
16 you.                                                        16 for you, Officer. Thank you.
17        MS. ZABEL: Will do. Sorry, Jordan.                   17         THE DEPONENT: Thank you.
18 BY MR. BELL:                                                18         MS. ZABEL: Officer, I just have a quick
19     Q. Officer, have you ever heard of a                    19 question for you.
20 procedure, a gun permit verification procedure              20 EXAMINATION
21 similar to Georgia's where you have to call the             21 BY MS. ZABEL:
22 judge?                                                      22     Q. So you mentioned that you had roughly 20
23     A. No.                                                  23 to 30 gun arrests in a year on average, right?
24        MS. ZABEL: Objection, asked and answered.            24     A. Yeah, give or take.
25 He already said he didn't know Georgia's laws.              25     Q. Okay. What percentage of those gun
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 1 arrests would you say are for people who don't have          1                CERTIFICATE
 2 gun permits in Pennsylvania or have invalid gun              2
 3 permits from Pennsylvania?                                   3     I, Jordan Weems, do hereby certify that I reported all
 4     A. More like 95 percent of those are just                4 proceedings adduced in the foregoing matter and that the
 5 straight do not have permits or never have. I'll             5 foregoing transcript pages constitutes a full, true and
 6 get an occasional one that has a revoked permit.             6 accurate record of said proceedings to the best of my
 7     Q. Okay. And the occasional ones where you               7 ability.
 8 have revoked permits, generally where are they from?         8
 9     A. Generally I see them from Pennsylvania.               9     I further certify that I am neither related
10         MS. ZABEL: Okay. Those are all the                  10 to counsel or any party to the proceedings nor have any
11 questions I have for you. Mr. Bell might have               11 interest in the outcome of the proceedings.
12 follow-up.                                                  12
13         THE DEPONENT: Okay.                                 13     IN WITNESS HEREOF, I have hereunto set my hand this
14         MR. BELL: No follow-up.                             14 19th day of January, 2022.
15         MS. ZABEL: Okay.                                    15
16         THE REPORTER: Okay, counsel.                        16
17         MS. ZABEL: That is all then.                        17
18         THE REPORTER: Are you ready to go off the           18
19 record?                                                     19
20         MS. ZABEL: Yes, thank you.                          20 /S/ Jordan Weems
21         THE REPORTER: And before we go off the              21
22 record, Mr. Bell, would you like the original of            22
23 this transcript?                                            23
24         MR. BELL: Yes, please.                              24
25         THE REPORTER: And, Ms. Zabel, would you             25


                                                          39                                                                   41

 1 like a copy?                                                 1            CORRECTION SHEET
 2        MS. ZABEL: Yes. Could I get an                        2 Deposition of: Ofc. Matthew Ponente Date: 01/04/22
 3 electronic? Do you do minis?                                 3 Regarding: Quarles vs. Commissioner Outlaw
 4        THE REPORTER: Yes.                                    4 Reporter:     Weems/Tate
 5        MS. ZABEL: Yes, if I could do that, that              5 ____________________________________________________
 6 would be great. Thank you.                                   6 Please make all corrections, changes or clarifications
 7        THE REPORTER: Okay. E-tran mini. I've                 7 to your testimony on this sheet, showing page and line
 8 made note of that.                                           8 number. If there are no changes, write "none" across
 9        The time is 10:44 a.m. We are now off the             9 the page. Sign this sheet on the line provided.
10 record.                                                     10 Page Line Reason for Change
11        (WHEREUPON, the deposition of OFFICER                11 _____ _____ ________________________________________
12 MATTHEW PONENTE was concluded at 10:44 a.m.)                12 _____ _____ ________________________________________
13                                                             13 _____ _____ ________________________________________
14                                                             14 _____ _____ ________________________________________
15                                                             15 _____ _____ ________________________________________
16                                                             16 _____ _____ ________________________________________
17                                                             17 _____ _____ ________________________________________
18                                                             18 _____ _____ ________________________________________
19                                                             19 _____ _____ ________________________________________
20                                                             20 _____ _____ ________________________________________
21                                                             21 _____ _____ ________________________________________
22                                                             22 _____ _____ ________________________________________
23                                                             23 _____ _____ ________________________________________
24                                                             24             Signature___________________________
25                                                             25                  Ofc. Matthew Ponente
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 1              DECLARATION
 2 Deposition of: Ofc. Matthew Ponente Date: 01/04/22
 3 Regarding: Quarles vs. Commissioner Outlaw
 4 Reporter:     Weems/Tate
 5 ____________________________________________________
 6
 7 I declare under penalty of perjury the following to
 8 be true:
 9
10 I have read my deposition and the same is true and
11 accurate save and except for any corrections as made
12 by me on the Correction Page herein.
13
14 Signed at ____________________________, ____________
15 on the ______________ day of ________________, 2022.
16
17
18
19
20
21
22
23
24             Signature___________________________
25                  Ofc. Matthew Ponente
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